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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                      )
 In re:                                                               ) Chapter 11
                                                                      )
 CENTERCITY HEALTHCARE, LLC d/b/a                                     ) Case No. 19-11466 (KG)
 HAHNEMANN UNIVERSITY HOSPITAL, et al., 1                             )
                                                                      )
                                      Debtors.                        ) (Jointly Administered)
                                                                      )
                                                                      ) Obj. Deadline: December 27, 2021 at 4:00 p.m.
                                                                      ) Hearing Date: Only if objection is timely filed

   NOTICE OF TWENTY-SECOND MONTHLY FEE APPLICATION OF KLEHR
  HARRISON HARVEY BRANZBURG LLP FOR PAYMENT OF COMPENSATION
AND REIMBURSEMENT OF EXPENSES AS SPECIAL COUNSEL TO THE DEBTORS
   FOR THE PERIOD FROM OCTOBER 1, 2021 THROUGH OCTOBER 31, 2021

        PLEASE TAKE NOTICE that on December 6, 2021, the Twenty-Second Monthly Fee
 Application of Klehr Harrison Harvey Branzburg LLP as Special Counsel to the Debtors for
 Payment of Compensation and Reimbursement of Expenses for the Period from October 1, 2021
 through October 31, 2021 (the “Application”) was filed with the Court. The Application seeks
 the approval of payment for professional services rendered as special counsel to the Debtors in
 the amount of $46,190.25 together with reimbursement of disbursements in the amount of $0.00.

         PLEASE TAKE FURTHER NOTICE that objections, if any, to the Application must
 be made in accordance with the Order Establishing Procedures for Interim Compensation and
 Reimbursement of Expenses for Professionals [D.I. 341] (the “Interim Compensation Order”)
 and must be filed with the Clerk of the Bankruptcy Court and be served upon the following: (i)
 Debtors, Center City Healthcare, LLC, 230 North Broad Street, Philadelphia, Pennsylvania
 19102 (Attn: Allen Wilen, CRO [allen.wilen@americanacademic.com]); (ii) counsel to the
 Debtors, Saul Ewing Arnstein & Lehr, LLP, 1201 N. Market Street, Suite 2300, P.O. Box 1266,
 Wilmington, Delaware 19899-1266 (Attn: Mark Minuti, Esq. [mark.minuti@saul.com] and
 Monique B. DiSabatino, Esq. [monique.disabatino@saul.com]) and 1500 Market Street, 38th
 Floor,     Philadelphia,    Pennsylvania     19102    (Attn:     Jeffrey   Hampton,      Esq.
 [jeffrey.hampton@saul.com] and Adam H. Isenberg, Esq. [adam.isenberg@saul.com]); (iii) the

 1       The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
 are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
 Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617),
 SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC
 Pediatric Anesthesia Associates, L.L.C. (2326), St Chris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA,
 L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS
 V of PA, L.L.C. (5540). The Debtors’ mailing address is 230 North Broad Street, Philadelphia, Pennsylvania 19102.




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 Office United States Trustee for the District of Delaware, 844 King Street, Suite 2207, Lockbox
 35,    Wilmington,      Delaware      19801      (Attn:   Benjamin     A.     Hackman,     Esq.
 [benjamin.a.hackman@usdoj.gov]); (iii) counsel to the Official Committee of Unsecured
 Creditors, Sills Cummis & Gross P.C., The Legal Center, One Riverfront Plaza, Newark, New
 Jersey 07102 (Attn: Andrew H. Sherman, Esq. [asherman@sillcummis.com] and Boris I.
 Mankovetskiy, Esq. [bmankovetskiy @sillcummis. com] and (b) Fox Rothschild LLP, 919 N.
 Market Street, Suite 300, Wilmington, Delaware 19899-2323 (Attn: Thomas M. Horan, Esq.
 [thoran@foxrothschild.com]); and (iv) counsel for the DIP Agent, Stradley, Ronon, Stevens &
 Young, LLP, 2005 Market Street, Suite 2600, Philadelphia, Pennsylvania 19103 (Attn: Gretchen
 M. Santamour, Esq. [gsantamour@stradley.com] and 1000 N. West Street, Suite 1279,
 Wilmington, Delaware 19801 (Attn: Joelle E. Polesky, Esq. [jpolesky@stradley.com]), so as to
 be received by no later than December 27, 2021 at 4:00 p.m. (prevailing Eastern Time) (the
 “Objection Deadline”).

        If any objections to the Application are filed, and the parties are unable to reach a
resolution thereof, a hearing on the Fee Application will be held before the Honorable Kevin
Gross at the Bankruptcy Court, 824 North Market Street, 6th Floor, Courtroom 3, Wilmington,
Delaware 19801, at a date and time convenient to the Court.

       PLEASE TAKE FURTHER NOTICE that pursuant to the Interim Compensation
Order, if no objection to the Application is timely filed and served by the Objection Deadline,
Klehr Harrison Harvey Branzburg LLP may be paid 80% of the fees requested in the Application
and 100% of the expenses requested in the Application without the need for further order of the
Bankruptcy Court.

     IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED IN THE FEE APPLICATION WITHOUT
FURTHER NOTICE OR HEARING.


Dated: December 6, 2021                    /s/ Domenic E. Pacitti
Wilmington, Delaware                     Domenic E. Pacitti (DE Bar No. 3989)
                                         KLEHR HARRISON HARVEY BRANZBURG LLP
                                         919 North Market Street, Suite 1000
                                         Wilmington, Delaware 19801
                                         Telephone: (302) 426-1189
                                         Facsimile: (302) 426-9193
                                         Email: dpacitti@klehr.com

                                         Special Counsel to the Debtors




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